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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

     CORI ANN GINSBERG, NOAH
     MALGERI, KALYN WOLF, BILL
     WILSON, SHANNON HOOD, ERIC
     FISHON, and ROBERT MCKEOWN on
     behalf of themselves and all others similarly    CASE NO.: 1:19-CV-22702-KMW
     situated,
                                                      Class Action
           Plaintiffs,

         vs.

     VITAMINS BECAUSE LLC, CT HEALTH
     SOLUTIONS LLC, GMAX CENTRAL
     LLC, ASQUARED BRANDS LLC,
     INSPIRE NOW PTY LTD d/b/a
     BOOSTCEUTICALS, HEALTHY WAY
     RX LLC, KHAKIWARE INC., and JOLLY
     DOLLAR SUPPLY COMPANY, LLC.,

          Defendants.
     ____________________________________
          VITAMINS BECAUSE AND CT HEALTH SOLUTIONS’ ANSWER AND
          AFFIRMATIVE DEFENSES TO ASQUARED’S CROSS CLAIM [Dkt. 111]

          Defendants, Vitamins Because, LLC and CT Health Solutions, LLC (unless otherwise

   noted, collectively “Vitamins Because”), responds to the correspondingly numbered paragraphs of

   Asquared Brands Cross Claim [Dkt. 111 at pp. 29 - 33], which begins at numbered paragraph 318.

          318.    Vitamins Because moves to strike this paragraph because it is an improper shotgun

   pleading that does not put Vitamins Because on notice of what allegations are being asserted

   against it. This paragraph also violates Rule 8(d)(1), Fed. R. Civ. P., which requires that each

   allegation be simple, concise and direct.

          319.    Admitted.

          320.    Admitted.
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            321.   Without knowledge and, therefore, denied.

            322.   Admitted Asquared purchased some SAMe product from Vitamins Because.

   Vitamins Because is unable to admit or deny the remaining allegations in this paragraph because

   (1) they are too vague and (2) Asquared failed to attach copies of the alleged contracts to the Cross

   Claim.

            323.   Admitted Asquared purchased some SAMe product from Vitamins Because.

   Vitamins Because is unable to admit or deny the remaining allegations in this paragraph because

   (1) they are too vague, (2) Asquared failed to attach copies of the alleged contracts to the Cross

   Claim, and (3) Vitamins Because is without knowledge of what Asquared did with the SAMe

   product it purchased from Vitamins Because.

            324.   Vitamins Because is unable to admit or deny the allegations in this paragraph

   because Asquared failed to attach the ‘Agreements.’ Vitamins Because admits it manufactures

   SAMe and that it sold some SAMe to Asquared.

            325.   Denied.

            326.   Denied.

            327.   Admitted Asquared purchased some SAMe from Vitamins Because. In all other

   respects, denied.

            328.   Denied as phrased.

            329.   Denied.

                               COUNT I – BREACH OF CONTRACT

            330.   Vitamins Because moves to strike this paragraph because it is an improper shotgun

   pleading that does not put Vitamins Because on notice of what allegations are being asserted




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   against it. This paragraph also violates Rule 8(d)(1), Fed. R. Civ. P., which requires that each

   allegation be simple, concise and direct.

          331.    Admitted Asquared purchased some SAMe product from Vitamins Because.

   Vitamins Because is unable to admit or deny the remaining allegations in this paragraph because

   (1) they are too vague, (2) Asquared failed to attach copies of the alleged contracts to the Cross

   Claim, and (3) Vitamins Because is without knowledge of what Asquared did with the SAMe

   product it purchased from Vitamins Because.

          332.    Vitamins Because is unable to admit or deny the allegations in this paragraph

   because Asquared failed to attach the contracts referred to in this paragraph.

          333.    Denied.

          334.    Denied.

          335.    Denied.

                       COUNT II – COMMON LAW INDEMNIFICATION

          336.    Vitamins Because moves to strike this paragraph because it is an improper shotgun

   pleading that does not put Vitamins Because on notice of what allegations are being asserted

   against it. This paragraph also violates Rule 8(d)(1), Fed. R. Civ. P., which requires that each

   allegation be simple, concise and direct.

          337.    Admitted Asquared purchased some SAMe product from Vitamins Because.

   Vitamins Because is unable to admit or deny the remaining allegations in this paragraph because

   (1) they are too vague, (2) Asquared failed to attach copies of the alleged contracts to the Cross

   Claim, and (3) Vitamins Because is without knowledge of what Asquared did with the SAMe

   product it purchased from Vitamins Because.

          338.    Denied.

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          339.      Denied.

          340.      Denied.

          341.      Denied.

          342.      Denied.

          343.      Denied as phrased.

          344.      Denied.

          345.      Denied.

          346.      Denied.

          347.      The allegations in this paragraph represent the legal conclusion of the pleader to

   which a response is not required. To the extent any of the allegation in this paragraph are deemed

   factual, denied.

                                     AFFIRMATIVE DEFENSES

                                          First Affirmative Defense

          Asquared’s Amended Cross Claim fails to state a claim upon which relief can be granted.

                                         Second Affirmative Defense

          Asquared is not wholly without fault and, therefore, its indemnification claim fails as a

   matter of law.

                                         Third Affirmative Defense

          Asquared’s claim for common law indemnification is barred by the economic loss rule.



          WHEREFORE, Vitamins Because demands judgment in its favor on all claims asserted by

   Asquared and respectfully requests that this Honorable Court award Vitamins Because its costs

   and attorneys’ fees after entitlement to same is established.

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                                        Demand for Jury Trial

          Vitamins Because demands a trial by jury on all issues so triable.


   Dated: July 17, 2020                          Respectfully submitted,

                                                 /s/David S. Johnson
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                                                 Counsel for Vitamins Because and CT
                                                 Health Solutions


                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 17th day of July, 2020 I electronically filed the foregoing

   with the Clerk of Court using the CM/ECF system, which will send a notification of this filing to

   the following counsel of record on the attached service list.

                                                     /s/David S. Johnson




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